                                                                            Case 2:17-cv-07281-SVW-AS Document 29 Filed 12/21/18 Page 1 of 3 Page ID #:92



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                                                                                 MARGARET KLAWUNN
                                                                             7
                                                                             8                         UNITED STATES DISTRICT COURT
                                                                             9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                                            10   John Doe,                                  CASE NO.: 2:17 CV 07281 SVW (ASx)
                                                                            11                 Plaintiff,
NYE, PEABODY, STIRLING, HALE & MILLER




                                                                            12          v.
                                                                                                                            JOINT STATUS REPORT
                                        SANTA BARBARA, CALIFORNIA 93101
                                        33 WEST MISSION STREET, SUITE 201




                                                                            13   MARGARET KLAWUNN, in her
                                                                                 individual and official capacities as
                                                                            14   Vice Chancellor for Student Affairs
                                                                                 for University of California, Santa
                                                                            15   Barbara; HENRY T. YANG, in his
                                                                                 individual and official capacities as
                                                                            16   Chancellor of University of California
                                                                                 Santa Barbara, and DOES 1 through
                                                                            17   50;                                        Trial Date: None set
                                                                            18                 Defendants.
                                                                            19
                                                                            20         Plaintiff John Doe (“Plaintiff”) and Defendants Margaret Klawunn and Henry
                                                                            21   Yang (“Defendants”) respectfully submit the following status report, in accordance
                                                                            22   with the Court’s November 29, 2017, Order (Dkt. 16).
                                                                            23         1.     On November 29, 2017, this Court ordered the present case stayed
                                                                            24   pending resolution of the state court proceeding entitled Doe v. Klawunn, et al.,
                                                                            25   Santa Barbara Superior Court case no. 16CV04867 and California Court of Appeal
                                                                            26   case no. B283229.
                                                                            27         2.     The Court ordered the parties to prepare and file a status report
                                                                            28   beginning on December 20, 2017, and continuing for every 30 days thereafter until
                                                                                                                        1
                                                                                  JOINT STATUS REPORT                                Case No. 2:17 CV 07281 SVW
                                                                            Case 2:17-cv-07281-SVW-AS Document 29 Filed 12/21/18 Page 2 of 3 Page ID #:93



                                                                             1   the Court lifts the stay. Dkt. 16.
                                                                             2         3.     The status of the state court proceeding is as follows:
                                                                             3                a.     On September 11, 2017, Plaintiff filed his opening appellate
                                                                             4                       brief with the Second District Court of Appeal.
                                                                             5                b.     On November 21, 2017, Defendants Margaret Klawunn, Henry
                                                                             6                       Yang, and The Regents of the University of California filed their
                                                                             7                       response brief.
                                                                             8                b.     On January 26, 2018, Plaintiff filed his reply brief.
                                                                             9                c.     On July 11, 2018, the Court of Appeal heard oral argument.
                                                                            10                d.     On October 9, 2018, the Court of Appeal issued its opinion
                                                                            11                       reversing the trial court’s decision denying Plaintiff’s petition for
NYE, PEABODY, STIRLING, HALE & MILLER




                                                                            12                       writ of mandate.
                                        SANTA BARBARA, CALIFORNIA 93101
                                        33 WEST MISSION STREET, SUITE 201




                                                                            13                e.     The Court of Appeal’s decision became final on November 8,
                                                                            14                       2018. (Cal. R. Ct. 8.264.)
                                                                            15                f.     The parties are not pursuing a further appeal. (Cal. R. Ct. 8.264.)
                                                                            16                g.     The Court of Appeal issued remittitur on December 14, 2018.
                                                                            17                h.     The case has now been remanded back to the Superior Court
                                                                            18                       with instructions to grant Plaintiff’s petition for a writ of
                                                                            19                       mandate.
                                                                            20                i.     The Superior Court has not yet issued judgment in accordance
                                                                            21                       with the opinion and remittitur.
                                                                            22         4.     While the parties await the Superior Court’s judgment, they have
                                                                            23   agreed to utilize the Central District’s ADR program to determine if resolution of
                                                                            24   the state and federal actions can be reached. The parties therefore request this Court
                                                                            25   maintain the stay for an additional 30 days to allow the parties to engage in the ADR
                                                                            26   process.
                                                                            27
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                                                                                  JOINT STATUS REPORT                                     Case No.: 2:17 CV 07281 SVW
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                                                                             1    Dated: December 21, 2018             NYE, PEABODY, STIRLING, HALE &
                                                                                                                       MILLER, LLP
                                                                             2
                                                                             3                                         By:      /S/
                                                                                                                             Jonathan D. Miller, Esq.
                                                                             4                                               Alison M. Bernal, Esq.
                                                                                                                             Attorney for Defendants, HENRY YANG
                                                                             5                                               and MARGARET KLAWUNN
                                                                             6
                                                                                  Dated: December 21, 2018            LEADER & BERKON, LLP
                                                                             7
                                                                             8                                        By:     /S/
                                                                                                                             Arthur Willner, Esq.
                                                                             9                                               Attorney for Plaintiff, JOHN DOE
                                                                            10
                                                                            11
NYE, PEABODY, STIRLING, HALE & MILLER




                                                                            12         Local Rule 5-4.3.4 Certification: I hereby attest that all other signatories
                                        SANTA BARBARA, CALIFORNIA 93101
                                        33 WEST MISSION STREET, SUITE 201




                                                                            13   listed, on whose behalf this filing is submitted, concur in the filing’s content and
                                                                            14   have authorized this filing.
                                                                            15                                                 /s/
                                                                            16                                           Alison M. Bernal
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                                                                                  JOINT STATUS REPORT                                    Case No.: 2:17 CV 07281 SVW
